Case 1:12-cr-00156-PLM            ECF No. 128, PageID.375           Filed 03/28/13      Page 1 of 2




                              UNITED STATES OF AMERICA
                            UNITED STATES DISTRICT COURT
                        FOR THE WESTERN DISTRICT OF MICHIGAN
                                 SOUTHERN DIVISION




UNITED STATES OF AMERICA,           )
                                    )
            Plaintiff,              )                 Case No. 1:12-cr-00156
                                    )
v.                                  )                 Honorable Paul L. Maloney
                                    )
DEWAIN JANELL CLARK,                )
                                    )
            Defendant.              )
____________________________________)


                             REPORT AND RECOMMENDATION

                Pursuant to W.D. MICH. L.CR.R. 11.1, I conducted a plea hearing in the captioned

case on March 28, 2013, after receiving the written consent of defendant and all counsel. At the

hearing, defendant Dewain Janell Clark entered a plea of guilty to Count Three of the First

Superseding Indictment in exchange for the undertakings made by the government in the written

plea agreement. In Count Three of the First Superseding Indictment, defendant is charged with

aggravated identity theft in violation of 18 U.S.C. § 1028A. On the basis of the record made at the

hearing, I find that defendant is fully capable and competent to enter an informed plea; that the plea

is made knowingly and with full understanding of each of the rights waived by defendant; that it is

made voluntarily and free from any force, threats, or promises, apart from the promises in the plea

agreement; that the defendant understands the nature of the charge and penalties provided by law;

and that the plea has a sufficient basis in fact.
Case 1:12-cr-00156-PLM             ECF No. 128, PageID.376         Filed 03/28/13      Page 2 of 2




               I therefore recommend that defendant's plea of guilty to Count Three of the First

Superseding Indictment be accepted, that the court adjudicate defendant guilty, and that the written

plea agreement be considered for acceptance at the time of sentencing. Acceptance of the plea,

adjudication of guilt, acceptance of the plea agreement, and imposition of sentence are specifically

reserved for the district judge.



Date: March 28, 2013                                   /s/ Ellen S. Carmody
                                                      ELLEN S. CARMODY
                                                      United States Magistrate Judge



                                      NOTICE TO PARTIES

                You have the right to de novo review of the foregoing findings by the district judge.
Any application for review must be in writing, must specify the portions of the findings or proceed-
ings objected to, and must be filed and served no later than14 days after the plea hearing. See W.D.
MICH. L.CR.R. 11.1(d).




                                                -2-
